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IN THE UNITED STATES DISTRICT COURT 5 D'C-
FOR THE WESTERN DISTRICT oF TENNESSEE0 JUN -5 pa h 39

EASTERN DIVISION UEEM g
UNITED sTATEs or AMERICA, W?KR§FU'S_%,ST¥%!TO
Piaintiff, m MC ON
vs. No. 04-10049-T
EDDIE LEONDRE DAVIDSON,
Defendant.

ORDER CONTINUING TRIAL AND REPORT DATE
AND EXCLQDING DELAY

Upon motion of counsel for defendant Eddie Leondre Davidson, without objection from
the government and for good cause shown, the report date Which is scheduled for June 10,
2005, and the trial date which is currently scheduled for June 20, 2005, are hereby continued.
Defendant contends that additional time is needed for preparation for the trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to

prepare for trial. Accordin 1 the trial is continued from June 20 2005 to Au ust 22 2005 at

 

9:30 A.M. The resulting period of delay, from June 20, 2005, to August 22, 2005, is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).

The report/motion date has been reset for August 10, 2005, at 8:30 a.m.

J.M

J S D. TODD
ED STATES DISTRICT JUDGE

§ §¥M 5 ¢94-05`
DA

This document entered on the docket sheet ln compliance

with nule 55 and/or 32(b) FRch on __QM_O§_

IT IS SO ORDER_ED.

 

 

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DISTRIC COURT - WSENETR D"'TRCT 0 TESSEE

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This notice confirms a copy of the document docketed as number 24 in
case l:O4-CR-10049 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

